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                                   STATEMENT OF FACTS

        Your affiant, Jonathan Lund, is a Special Agent assigned to the Federal Bureau of
Investigation’s Washington Field Office. I am assigned to investigate various criminal matters in
the Washington D.C. region. I am a Special Agent with the FBI, within the meaning of 18 U.S.C.
§ 3052, and as such I am authorized to investigate crimes involving computer intrusions and other
financial crimes stated under federal law, including Title 18 of the United States Code. Currently,
I am tasked with investigating criminal activity in and around the Capitol grounds on January 6,
2021. As a Special Agent, I am authorized by law or by a Government agency to engage in or
supervise the prevention, detention, investigation, or prosecution of violations of Federal criminal
laws.

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification were allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the
House and Senate adjourned to separate chambers to resolve a particular objection. Vice President
Mike Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

        At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, around 2:00
p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking windows
and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged and
assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.
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        During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

             Facts Specific to MARYANN MOONEY-RONDON and RAFAEL RONDON

       The FBI Washington Field Office published a collection of images of individuals it was
seeking to identify in connection with the riots at the U.S. Capitol on January 6, 2021. On Tuesday,
May 4, 2021, FBI received an electronic tip that identified MARYANN MOONEY-RONDON
and her son, RAFAEL RONDON, by name as the female and male depicted in FBI Capitol
Violence Photographs 225 and 224 respectively (shown below). 1 As described in further detail
below, FBI has corroborated the identification of Photographs 225 and 224 as MARYANN
MOONEY-RONDON and RAFAEL RONDON:




        A review of information received from Verizon Communications revealed MARYANN
MOONEY-RONDON is a Verizon Wireless subscriber. TELEPHONE NUMBER 1 and
TELEPHONE NUMBER 2, belonging to MARYANN MOONARY-RONDON and RAFAEL
RONDON respectively, were identified as having utilized a cell site consistent with providing
service to a geographic area which included the interior of the United States Capitol building on
January 6, 2021.

       1
         FBI has published multiple photographs of the individuals identified in Photographs 225
and 224, taken from different angles or at different times, all of which are available at
https://www.fbi.gov/wanted/capitol-violence. The images below are specifically marked as
Photograph #225 A (left) and Photograph #224 A (right).
                                                 2
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       Available CCTV surveillance video from inside the U.S. Capitol on Wednesday, January
6, 2021, captures MARYANN MOONEY-RONDON and RAFAEL RONDON entering the
building via the breached Senate wing door at or about 2:23 p.m. (see screenshot below). The two
proceeded together through the crypt on the first floor, up to the second floor, and into the suite of
the Speaker of the House of Representatives, Nancy Pelosi near room H227 at or about 2:32 p.m.




       At approximately 2:33 p.m. MARYANN MOONEY-RONDON and RAFAEL RONDON
are observed in CCTV surveillance video entering the Speaker of the House of Representatives,
Nancy Pelosi’s, conference room, H230.

        In an approximately 5-second video recorded by a bystander from inside the Speaker’s
office conference room, an individual’s arm is shown reaching from outside the frame of the
recording toward a laptop and gloves that are sitting on a conference table. The individual is
wearing a dark padded jacket and appears to have a ring on their right-hand thumb and another
ring on their right-hand ring finger, consistent with images of MARYANN MOONEY-RONDON
captured in CCTV surveillance footage. In the bystander video, a female voice states, “Dude, put
on gloves,” while an unidentified male with his back turned to the camera then appears to use the
gloves to lift the laptop from the table before the recording ends.

       Agents have confirmed that a laptop was stolen from Speaker Pelosi’s conference room on
January 6, 2021.

        The same bystander video partially shows another individual wearing a red and black plaid
jacket; grey or white shirt; and dark pants, consistent with images of RAFAEL RONDON captured
in CCTV surveillance footage. He is seen standing across the table from the arm believed to
belong to MARYANN MOONEY-RONDON and the unknown male, with his left hand resting
on top of a chair. A still image from the bystander video, which appears to show partial images of
MARYANN MOONEY-RONDON and RAFAEL RONDON, is copied below:




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       At or about 2:42 p.m., CCTV surveillance video shows MARYANN MOONEY-
RONDON and RAFAEL RONDON entering the Senate Gallery which overlooks the Senate Floor.
Publicly available images show the two inside:




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        After exiting the Senate Gallery, MARYANN MOONEY-RONDON and RAFAEL
RONDON are observed in CCTV surveillance video carrying ILC Dover SCape CBRN30 escape
hoods with satchels (a black pouch with an orange strap), a filtering respiratory protective device
maintained in the U.S. Capitol for Members of Congress and staff for self-rescue that provide
thirty minutes of protection from carbon monoxide, chemical, biological, radiological and nuclear
contaminants. The government sustained a loss of $235.18 per hood with satchel, totaling $470.36.

       At approximately 2:52 p.m. publicly available images depict MARYANN MOONEY-
RONDON and RAFAEL RONDON exiting the U.S. Capitol via the Rotunda steps onto the east
front. RAFAEL RONDON is wearing an escape hood with the satchel in his left arm and
MARYANN MOONEY-RONDON has the orange strap of an escape hood visible across her
chest.




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        On June 29, 2021, the FBI executed a search warrant at the RONDON’s residence in
Watertown, NY. During the residential search, MARYANN MOONEY-RONDON’s dark colored
jacket she is seen wearing in the above photos was located in her home. RAFAEL RONDON’s
black, red and gray hooded zip up jacket and red Vans brand sneakers he is seen wearing in the
above photos were also located it the home. Additionally, two emergency escape hood bags taken
from the U.S. Capitol were located in the home.

                         Interview with MARYANN MOONEY-RONDON

        During a voluntary interview with MARYANN MOONEY-RONDON, she acknowledged
entering the U.S. Capitol on January 6, 2021. MARYANN MOONEY-RONDON was aware she
had been identified in FBI Capitol Violence Photograph 225. MARYANN MOONEY-RONDON
stated that she knew the Presidential election results were being Certified prior to entering the U.S.
Capitol. MARYANN MOONEY-RONDON admitting seeing police officers with shields outside
the U.S. Capitol, and witnessed members of the crowd “pushing” against the officers. After
making her way to Speaker Pelosi’s conference room, MARYANN MOONEY-RONDON
admitted to providing gloves to a male individual to facilitate the theft of a government laptop
from the conference room. MARYANN MOONEY-RONDON confirmed that it was her arm that
was shown in the above-referenced bystander video. MARYANN MOONEY-RONDON stated
that she saw “the gentleman that took the computer,” explaining further that, “I’m pretty sure I
saw him put it in a backpack . . . probably 100 percent.”

         MARYANN MOONEY-RONDON further stated: “He asked, he said, give me – I don’t
know if it was gloves or a scarf I was wearing – and like I said he scared me.” She continued:
“When he asked for, whatever he asked for to, I think he just didn’t want to touch it . . . I mean
that’s why I was like, we gotta get out of here, this isn’t right, I mean he scared the crap out of
me.” She continued: “He was close to us, at that point, and like, I knew, like, yeah, you shouldn’t
be doing that. . . . If I recall, the guy was going to yank it out. I’m like, dude, don’t do that, I mean
that’s, I mean just the computer, you can’t pull the cables out, it’ll ruin everything.” When asked
if she provided gloves to the individual, MARYANN MOONEY-RONDON stated that “it could
have been either my gloves or my scarf, I don’t recall.”

        According to MARYANN MOONEY-RONDON, she proceeded to the Senate Gallery
where the election results should have been taking place except for the U.S. Capitol being overrun.
On her way out of the U.S. Capitol MARYANN MOONEY-RONDON took an escape hood and
bag from the U.S. Capitol. MARYANN MOONEY-RONDON shared pictures with the
interviewing agents that she had taken inside Speaker Pelosi’s conference room.




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                                Interview with RAFAEL RONDON

        During a voluntary interview with RAFAEL RONDON, he acknowledged entering the
U.S. Capitol on January 6, 2021, with his mother, MARYANN MOONEY-RONDON. RAFAEL
RONDON told agents that he and his mother, MARYANN MOONEY-RONDON, rode the Metro
into the District of Columbia on the morning of January 6, 2021, “because I’m not taking my car
into the city which, the Capitol building I’m about to break into.” RAFAEL RONDON confirmed
he was the male depicted in FBI Capitol Violence Photograph 224.

        RAFAEL RONDON stated that, “I think everybody was going there for about the same
reason I was, just have your voice heard.” After making their way to the suite of the Speaker of
the House of Representatives, Nancy Pelosi near room H227, RAFAEL RONDON and
MARYANN MOONEY-RONDON, entered the Speaker’s conference room. Inside, RAFAEL
RONDON admitted that he assisted an individual to place the laptop in a bag using a glove.
Specifically, RAFAEL RONDON stated: “While we were in the office, one of the [individuals],
he was trying to rip the ethernet cords to one of the laptops, and he yelled at me and my mother to
help him. And I was honestly a little bit afraid, because I didn’t know if he had anything on him . . .
So I assisted him a little bit, and that was probably stupid of me.”

        RAFAEL RONDON stated: “I think I like pushed in his bag a little bit using a glove ‘cause
he didn’t want to get his fingerprints on it.” RAFAEL RONDON and MARYANN MOONEY-
RONDON proceeded to the evacuated Senate Gallery where Certification of the Presidential
election was previously taking place. RAFAEL RONDON confirmed he was the male depicted
in publicly available video sitting in the aforementioned clothing inside the Senate gallery. On his
way out of the U.S. Capitol, RAFAEL RONDON removed an escape hood and satchel without
permission. RAFAEL RONDON confirmed he was the male depicted in publicly available images
of the exterior of the Rotunda steps wearing an escape hood with the satchel in his left arm. To
prevent incriminating himself, RAFAEL RONDON asserted that he deleted photographs on his
cellphone from inside the breached U.S. Capitol building. 2


       2
          On April 22, 2021, a search warrant was obtained for premises in Homer, Alaska based
in part on evidence showing that two residents (a married couple) trespassed on the grounds of the
U.S. Capitol on January 6, 2021, documented by contemporaneous social media postings and their
own admissions. The female subject was also identified by at least two witnesses in her
community as matching the description of a female shown in FBI Capitol Violence Photograph
225 (the same photograph that MARYANN MOONEY-RONDON has been identified in). See
3:21-mj-237 (D. Alaska). Notwithstanding those prior identifications of the female subject from
Homer, Alaska who had participated in the January 6 events as the woman depicted in Photograph
225, there is probable cause to believe MARYANN MOONEY-RONDON and RAFAEL
RONDON are the individuals shown in Photographs 225 and 224, respectively, based on
admissions by both subjects during their voluntary interviews with the FBI (wherein they identified
themselves as the individuals shown in Photographs 225 and 224); evidence recovered during the
search warrants at the RONDON residence; and evidence showing both subjects are registered to
Verizon cellular phones that were captured in Verizon search warrant returns as having utilized a
cell site consistent with providing service to a geographic area that included the interior of the
United States Capitol building during the relevant time frame on January 6, 2021.
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         Based on the foregoing, your affiant submits that there is probable cause to believe that
MARYANN MOONEY-RONDON and RAFAEL RONDON violated 18 U.S.C. § 1752(a)(1) and
(2), which makes it a crime to (1) knowingly enter or remain in any restricted building or grounds
without lawful authority to do; and (2) knowingly, and with intent to impede or disrupt the orderly
conduct of Government business or official functions, engage in disorderly or disruptive conduct
in, or within such proximity to, any restricted building or grounds when, or so that, such conduct,
in fact, impedes or disrupts the orderly conduct of Government business or official functions.

        Your affiant submits there is also probable cause to believe that MARYANN MOONEY-
RONDON and RAFAEL RONDON violated 40 U.S.C. § 5104(e)(2)(B), (C)(i), and (D) which
makes it a crime to willfully and knowingly (B) enter or remain in the gallery of either House of
Congress in violation of rules governing admission to the gallery adopted by that House or
pursuant to an authorization given by that House; (C) with the intent to disrupt the orderly conduct
of official business, enter or remain in a room in any of the Capitol Buildings set aside or
designated for the use of— (i) either House of Congress or a Member, committee, officer, or
employee of Congress, or either House of Congress; and (D) utter loud, threatening, or abusive
language, or engage in disorderly or disruptive conduct, at any place in the Grounds or in any of
the Capitol Buildings with the intent to impede, disrupt, or disturb the orderly conduct of a session
of Congress or either House of Congress, or the orderly conduct in that building of a hearing
before, or any deliberations of, a committee of Congress or either House of Congress.

       Your affiant submits there is probable cause to believe that MARYANN MOONEY-
RONDON and RAFAEL RONDON violated 18 U.S.C. § 1512(c)(2), which makes it a crime to
obstruct, influence, or impede any official proceeding, or attempt to do so. Under 18 U.S.C.
§ 1515, congressional proceedings are official proceedings.

         Finally, your affiant submits there is probable cause to believe that MARYANN
MOONEY-RONDON and RAFAEL RONDON violated 18 U.S.C. §§ 641 and 2, which makes
it a crime for a person to embezzle, steal, purloin, or knowingly convert to his use or the use of
another, or without authority, sell, convey or dispose of any record, voucher, money, or thing
of value of the United States or of any department or agency thereof, or any property made or
being made under contract for the United States or any department or agency thereof; or receive,
conceal, or retain the same with intent to convert it to his use or gain, knowing it to have been
embezzled, stolen, purloined or converted, or to aid and abet another in doing so.

                                                      _________________________________
                                                      SA Jonathan Lund
                                                      Federal Bureau of Investigation

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 2nd day of September 2021.
                                                                       2021.09.02
                                                                       18:12:32 -04'00'
                                                      ___________________________________
                                                      ZIA M. FARUQUI
                                                      U.S. MAGISTRATE JUDGE

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